                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    GREENEVILLE

 DODD POWELL KING, and                                *
 CHERYL A. KING,                                      *       No. 2:09-CV-00276
                                                      *       JURY DEMAND
         Plaintiffs/Counter-Defendants,               *
 vs.                                                  *
                                                      *
 ALLSTATE INSURANCE COMPANY,                          *
                                                      *
         Defendant/Counter-Plaintiff.                 *


       MOTION FOR SUMMARY JUDGMENT ON PENDING COUNTER-COMPLAINT

         COMES the Counter-Plaintiff, Allstate Insurance Company (“Allstate”), by and through

 counsel, pursuant to Rule 56 of the Federal Rules of Civil Procedure, and moves this Court to

 enter summary judgment in Allstate’s favor on its pending counter complaint. A Memorandum

 of Law in Support of this Motion for Summary Judgment and other supporting documents are

 attached.



        GROUNDS UPON WHICH SUMMARY JUDGMENT SHOULD BE GRANTED



         Allstate issued a policy of insurance to Plaintiffs Dodd King and Cheryl King for a

 structure located at 289 Old Thomas Bridge Road, Bluff City, Tennessee; such policy included

 certain terms, limitations, conditions and exclusions. Sometime thereafter, Plaintiffs submitted a

 claim to Allstate for an alleged fire loss occurring that their residence. After due consideration,

 Allstate denied Plaintiffs’ claim. Plaintiffs then unjustifiably sued Allstate and alleged bad faith

 under Tenn. Code Ann. § 56-7-105. Allstate averred that the fire loss was caused by or at the



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 direction of Plaintiffs with the intent to defraud Allstate, and following the fire and in the

 presentation of the claim(s) and in dealing with Allstate, in submitting documents, giving

 statements, presenting for Examinations Under Oath and in many dealings with Allstate,

 Plaintiffs made multiple misrepresentations and intentionally concealed and misrepresented

 material facts and circumstances concerning the insurance and the losses. Because Plaintiffs

 presented a claim not in good faith, Allstate incurred expenses, losses and injury to investigate

 the claim(s); therefore, Allstate counter-complained for damages under Tenn. Code Ann. § 56-7-

 106 in an amount not to exceed twenty-five percent of the loss claimed under the policy.

        Allstate filed a Rule 37 Motion for Sanctions [Doc. 23] and, based upon the Plaintiffs’

 failure to respond or otherwise act, this Court ordered the dismissal of Plaintiffs’ claims against

 Allstate. [Docs. 31-33.] Neither the Court’s Report and Recommendation [Doc. 31] nor Order

 [Doc. 32] mentions or dismisses Allstate’s pending counter-complaint. Summary Judgment

 should be granted in Allstate’s favor because Plaintiffs did not bring their suit in good faith and

 Tenn. Code Ann. § 56-7-106 provides a recovery to an insurance company under this set of facts.

 The pleadings and discovery completed at this time fully support these reasons and firmly

 establish that there are no genuine issues of material facts and that Summary Judgment should be

 granted for Allstate.

        In support of the Motion for Summary Judgment, Allstate submits the following:

        1.      Statement of Undisputed Material Facts;

        2.      Memorandum of Law;

        3.      Complaint (Exhibit A);

        4.      Policy of Insurance (Exhibit B);

        5.      Sworn Proof of Loss (Exhibit C); and



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        6.      Affidavit of Gary Bobo (Exhibit D).



        WHEREFORE, Allstate respectfully requests that this Court enter an Order granting

 summary judgment in its favor on its pending counter-complaint in an amount not to exceed

 $47,687.50, representing twenty-five percent of the loss claimed.


                                                Respectfully submitted,

                                                ALLSTATE INSURANCE COMPANY
                                                By:    s/ Suzanne S. Cook                   .
                                                       Suzanne S. Cook
                                                       TN BPR No. 017579
                                                       HUNTER, SMITH & DAVIS, LLP
                                                       100 Med Tech Parkway, Suite 110
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 2, 2014, a copy of the foregoing document was filed
 electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
 system to all parties indicated on the electronic filing receipt. All other parties will be served by
 regular U. S. Mail. Parties may access this filing through the Court’s electronic filing system.


 Dodd P. King
 368 Wassum lane
 Bluff City,TN 37618

 Ms. Cheryl King
 901 Pennsylvania Avenue
 Bristol, TN 37618

                                                s/ Suzanne S. Cook                        .




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